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8                        UNITED STATES DISTRICT COURT
9                       EASTERN DISTRICT OF CALIFORNIA
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12   UNITED STATES OF AMERICA,               NO. 2:99-cr-00433-05 WBS
13             Plaintiff,
                                             ORDER DENYING CERTIFICATE OF
14        v.                                 APPEALABILITY
15   HOANG NGUYEN, aka BAO HOANG
     LU,
16
               Defendant.
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19             Defendant has filed an Application for Certificate of
20   Appealability, pursuant to 28 U.S.C. § 2253(c), and Rule 22(b) of
21   the Federal Rules of Appellate Procedure, seeking leave to appeal
22   from this court’s Order of May 16, 2013, denying his Motion to
23   Vacate, Set Aside, or Correct Sentence Under 28 U.S.C. § 2255.
24              A certificate of appealability may issue under 28
25   U.S.C. § 2253 “only if the applicant has made a substantial
26   showing of the denial of a constitutional right.”         28 U.S.C.
27   § 2253(c)(2).   The certificate of appealability must “indicate
28   which specific issue or issues satisfy” the requirement.          28

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1    U.S.C. § 2253(c)(3).
2                Specifically, defendant seeks leave to appeal on the
3    following three issues: first, that he was denied due precess
4    because the evidence at trial was insufficient to support a
5    conviction under the Hobbs Act; second, that he was denied
6    effective assistance of counsel because his attorney failed to
7    timely bring defendant’s age to the attention of the court; and
8    third, that his sentence constituted cruel and unusual punishment
9    under the Eight Amendment.
10               The reasons for the court’s rejection of defendant’s
11   arguments on each of those issues were discussed in some detail
12   in this court’s Order of May 16, 2013.       For the reasons
13   discussed, the court is unable to identify any issue that
14   petitioner can demonstrate is “‘debatable among jurists of
15   reason,’” could be resolved differently by a different
16   court, or is “‘adequate to deserve encouragement to proceed
17   further.’” See Jennings v. Woodford, 290 F.3d 1006, 1010 (9th
18   Cir. 2002) (quoting Barefoot v. Estelle, 463 U.S. 880, 893
19   (1983)).
20               IT IS THEREFORE ORDERED that defendant’s application
21   for a certificate of appealability be, and the same hereby is,
22   DENIED.
23   DATED:    July 10, 2013
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